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                               MINUTE ORDER




 CASE NUMBER:            CRIMINAL NO. 17-00101 LEK-1
 CASE NAME:              USA v. (1) Anthony T. Williams


      JUDGE:      Leslie E. Kobayashi           DATE:            1/28/2020


EO: COURT ORDER GRANTING IN PART AND DENYING IN PART
“DEFENDANT’S (1) MOTION FOR ORDER THAT DEFENDANT TO BE
TRANSPORTED TO CELL BLOCK THROUGH DURATION OF TRIAL AND (2)
REQUEST FOR STATUS CONFERENCE”

        On January 17, 2020, pro se Defendant Anthony T. Williams (“Williams”),
through his stand-by counsel, Lars Isaacson, Esq., filed “Defendant’s (1) Motion for
Order that Defendant to Be Transported to Cell Block Through Duration of Trial and
(2) Request for Status Conference” (“1/17/20 Motion”). [Dkt. no. 783.] The Court finds
that: the 1/17/20 Motion is suitable for disposition without a hearing pursuant to Local
Rule 7.1(c); and it is not necessary for Plaintiff the United States of America (“the
Government”) to file a response to the 1/17/20 Motion.

I.    Request for Transportation

        On November 25, 2019, this Court issued an entering order titled “Court Order
Directing the Government and United States Marshals Service Regarding Production of
Defendant Williams to the Federal Building or Courthouse for the Purpose of Reviewing
Discovery Not Permitted to Be Transported into FDC Honolulu” (“11/25/19 EO”). [Dkt.
no. 655.] The 11/25/19 EO directed the Government to make arrangements to provide a
location within either the Prince Jonah Kalanianaole Kuhio Federal Building or the
United States Courthouse for Williams to: 1) review encrypted data, produced by the
Government to Williams in discovery, which contain visual depictions that are prohibited
by Federal Bureau of Prisons rules and regulations from being transported into the
Federal Detention Center - Honolulu (“FDC Honolulu” and “the restricted discovery”);
and 2) examine certain property, seized by the Government pursuant to a search warrant,
and belonging to Williams, that has been returned to Williams (“the returned property”).
[11/25/19 EO at 1.] The 11/25/19 EO directed the United States Marshals Service
(“USMS”) to transport Williams to and from FDC Honolulu for the purpose of
conducting such review and examination. [Id. at 2.] Williams was permitted a total of
fifteen hours of review and examination, and the 11/25/19 EO stated he could file a
motion to request additional time. [Id.]
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       The 1/17/20 Motion states that, since December 23, 2019, “Williams has been
transported a number of times to the cellblock,” pursuant to the 11/25/19 EO, but
Williams’s recent requests for transport have been rejected because, according to the
USMS, Williams has already been provided the fifteen hours directed in the 11/25/19 EO.
[1/17/20 Motion, Decl. of Counsel at ¶ 4.] In the 1/17/20 Motion, Williams requests
additional time: “to continue to review the hard drives provided by the Government”; and
to examine “his Kindle or Amazon Fire devices that were seized from him.” [Id. at ¶ 5.]
Williams fails to state how much additional time is reasonably necessary, and how much
more of the materials needs to be reviewed. The 1/17/20 Motion also seeks a court order
requiring the Government to return the iPhones that were seized from Williams, but
which have not been returned to him. [Id.]

       The 1/17/20 Motion is GRANTED insofar as the Court FINDS that an additional
ten hours of examination and review time is warranted, subject to the limitations
described in the 11/25/19 EO. The Government is HEREBY ORDERED to make
arrangements with the USMS to allow Williams to review the restricted discovery and the
returned property at the district court cellblock. The USMS is HEREBY ORDERED to
transport Williams to and from FDC Honolulu for the purpose of examining the returned
property and reviewing the restricted discovery until Williams and Mr. Isaacson, or his
designee, have completed their review. Regarding Williams’ examination and review, the
Court ORDERS that Williams: shall not be permitted to enter or leave the location
designated for his examination and review without the permission of the USMS; shall be
permitted a minimum of two hours a day for his examination and review, but any amount
of time exceeding the two hours shall be at USMS’s discretion, based upon their
assessment of manpower and transportation availability; and shall be permitted a total of
ten hours, in addition to the hours provided pursuant to the 11/25/19 EO, for his
examination and review.

       No request for additional time will be considered until after Williams has
completed the ten hours of examination and review. If at that time additional time is
requested, Williams shall file a written motion asking for this Court’s permission and his
request must state his reasons as to why he was not able to complete the examination and
review within the twenty-five total hours provided in the 11/25/19 EO and this Entering
Order. The motion must identify specific reasons for requesting additional time.
Williams is not required to disclose his trial strategy in the motion, but he is required to
describe specific reasons why additional time is necessary. For example, he may state the
total number of files contained in the restricted discovery and the average size of the files,
without describing the contents of the files.

        Williams’s 1/17/20 Motion is DENIED to the extent that he requests: 1) more than
ten additional hours to review the restricted discovery and to examine the returned
property; and 2) the ability to review materials other than the restricted discovery and the
returned property during the ten additional hours provided in this Entering Order.
Williams’s 1/17/20 Motion is also DENIED to the extent that he requests a court order for
the return of the seized iPhones. That issue was not addressed in the 11/25/19 EO, and
Williams must file a separate motion, supported by the appropriate legal authority,
seeking to compel the Government to return the iPhones.
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II.   Status Conference

        Williams’s 1/17/20 Motion also requests a status conference to address “various
matters,” such as whether the Government will produce additional discovery and whether
the parties will enter into any stipulations regarding documents to be offered into
evidence at trial. [1/17/20 Motion, Decl. of Counsel at ¶ 9.] Since the filing of the
1/17/20 Motion, Williams has filed: “Defendant’s ‘Sworn Motion for Stipulation of Facts
and Evidence Not Disputed by the Government nor Private Attorney’” (“Stipulation
Motion”); [filed 1/23/20 (dkt. no. 797);] and “Defendant’s ‘Motion to Continue Trial for
70 Days’” (“Motion to Continue”), [filed 1/27/20 (dkt. no. 812)]. The Motion to
Continue addresses the effect of the Government’s recent discovery productions. [Motion
to Continue, Decl. of Counsel, Exh. A.] A nonhearing briefing schedule has been issued
for the Stipulation Motion, and the Motion to Continue has been scheduled for hearing on
January 29, 2020, at 10:00 a.m. [Dkt. nos. 810, 815.] The 1/17/20 Motion’s request for a
status conference is therefore DENIED as unnecessary.

      IT IS SO ORDERED.



Submitted by: Agalelei Elkington, Courtroom Manager
